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                                 No. 2024-____

                                    In the
       United States Court of Appeals
                       for the Federal Circuit


              IN RE FUTABA CORPORATION OF AMERICA
                                                             Petitioner,

                     _______________________________________
                   On Petition for a Writ of Mandamus to the
          United States District Court for the Western District of Texas
                        in Case No. 6:23-cv-00440-ADA,
                   the Honorable Alan D. Albright Presiding.


              PETITION FOR A WRIT OF MANDAMUS




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FORM 9. Certificate of Interest                                                       Form 9 (p. 1)
                                                                                       March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number
   Short Case Caption In Re Futaba Corporation of America
   Filing Party/Entity Futaba Corporation of America



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        05/30/2024
  Date: _________________                   Signature:          /s/ George S. Fish

                                            Name:               George S. Fish




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FORM 9. Certificate of Interest                                                     Form 9 (p. 2)
                                                                                     March 2023


     1. Represented                   2. Real Party in            3. Parent Corporations
         Entities.                        Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).         Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of        Provide the full names of       Provide the full names of
 all entities represented by      all real parties in interest    all parent corporations for
 undersigned counsel in           for the entities. Do not list   the entities and all
 this case.                       the real parties if they are    publicly held companies
                                  the same as the entities.       that own 10% or more
                                                                  stock in the entities.

                                     None/Not Applicable             None/Not Applicable

Futaba Corporation of America                                     Futaba Corporation




                                     Additional pages attached




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FORM 9. Certificate of Interest                                                         Form 9 (p. 3)
                                                                                         March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
          None/Not Applicable                              Additional pages attached
Young Basile Hanlon & MacFarlane, P.C.
                                         John Demarco

Young Basile Hanlon & MacFarlane,
                                         George S. Fish
P.C.




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
       Yes (file separate notice; see below)                No        N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
          None/Not Applicable                              Additional pages attached




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                          INTRODUCTION

     Petitioner Futaba Corporation of America (“FCA”) petitions this

Court to issue a writ of mandamus to the United States District Court

for the Western District of Texas (“WDTX”) to dismiss this case. The

case involves only patent and copyright infringement claims. Over

eight months ago, FCA filed motions to dismiss for improper venue per

Fed. R. Civ. P. 12(b)(3) and 28 U.S.C. §1400(a) and (b), and lack of

personal jurisdiction per Fed. R. of Civ. P. 12(b)(2). Those motions

remain pending. Meanwhile, the district court has promptly issued

orders advancing the case, including an order compelling FCA to

participate in voluminous merits-based, fact discovery and orders

denying FCA’s motions for a stay and relief from discovery.

     This Court prioritizes addressing threshold issues, such as

motions based on improper venue: “once a party files a transfer motion,

disposing of that motion should unquestionably take priority.” In re

Apple, Inc., 979 F.3d 1332, 1337 (Fed. Cir. 2020); see, In re SK Hynix

Inc., 835 Fed. Appx. 600 (Fed. Cir. 2021); In re TracFone Wireless, Inc.,

848 Fed. Appx. 899 (Fed. Cir. 2021). Further, personal jurisdiction is

one of the “threshold grounds for denying audience to a case on the



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merits” that a court must address first. In re Bd. of Regents of the Univ.

of   Tex.    Sys.,   435   Fed.   Appx.       945,      946   (Fed.   Cir.   2011)

(quoting, Sinochem Intern. Co. Ltd. v. Malaysia Intern. Shipping

Corp., 549 U.S. 422, 423 (2007). While district courts have some degree

of “discretion as to how to handle their dockets,” id., the district court’s

delay here has surpassed what should be permissible.

      The record evidence overwhelmingly shows venue is improper

and personal jurisdiction is lacking. Therefore, this Court should

issue a writ of mandamus compelling WDTX to dismiss this case or,

at a minimum, compelling the district court to stay the case,

including substantive discovery and claim construction, until after

such time it decides the pending motions to dismiss.

                            RELIEF SOUGHT

      FCA respectfully requests a writ of mandamus compelling the

district court to dismiss this case or, in the alternative, staying the

case pending rulings on FCA’s motions to dismiss.

                           ISSUES PRESENTED

      Whether the district court abused its discretion by failing to

rule on motions to dismiss for improper venue and lack of personal



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jurisdiction filed over eight months ago.

      Whether a stay should be granted until the district court decides

FCA’s pending motions to dismiss for improper venue and lack of

personal jurisdiction, which have been pending for over eight months.

                  JURISDICTIONAL STATEMENT

      The Federal Circuit has jurisdiction over this petition because

the underlying case in WDTX is a patent case. See 28 U.S.C. §§ 1295,

1331, and 1338(a). Mandamus is available “to correct a clear abuse of

discretion or usurpation of judicial power.” In re TS Tech. United

States Corp., 551 F.3d 1315, 1318 (Fed. Cir. 2008). As this Court has

previously ruled, failure to timely rule on a motion to transfer

warrants mandamus. In re TracFone, supra; In re SK Hynix; supra; In

re Google, No. 2015-138, 2015 U.S. App. LEXIS 16544 at *1 (Fed. Cir.

July 16, 2015).

                         STATEMENT OF FACTS

     A. Background on Parties, Patents, Copyright, and Claims

     Plaintiff UUSI, LLC d/b/a Nartron (“Nartron”) and Defendant are

contract manufacturers of printed circuit board assemblies (“PCBAs”) for

instrument   panel   bezels of     automobiles.        APPX0021.       They   are



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headquartered in, respectively, Michigan and Illinois. APPX0022. A third

party in Michigan, JVIS – USA, LLC (“JVIS”), contracted with FCA in

2013 to make PCBAs for JVIS exclusively and to JVIS’s specifications.

APPX0021. FCA made the PCBAs in Alabama and sold them to JVIS in

Michigan. APPX0119-0120, APPX0116.

     In the underlying action, Nartron accuses FCA of copying PCBAs

made by Nartron, and making and selling them from 2013 to the present,

thereby   infringing     U.S.   Patent       Nos.   9,538,589     (“’589    Patent”)

(APPX0057), 9,840,185 (“’185 Patent”) (APPX0071), and 10,220,762

(“’762 Patent”) (APPX0086) (collectively, “Patents”). See, e.g., APPX0029,

APPX0037, APPX0046. The Patents are part of the same family, were

applied for by Nartron in 2014, and began issuing in 2017. APPX0024.

     Nartron also accuses FCA of copying the software object code for

Nartron’s PCBAs in 2013, thereby infringing Nartron’s copyright on the

software source code therefor, i.e., Printed Circuit Board Software Code,

Registration No. TX 9-263-201. APPX0027-0028, APPX0101. Nartron

applied for the copyright on May 15, 2023. APPX0101.

     Nartron vaguely alleged venue is proper in WDTX. However, FCA

did not make, use, sell, offer to sell, or import any of the PCBAs or a



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component thereof, or induce or contribute to any such act in WDTX.

APPX0205.

     Nartron alleged personal jurisdiction over FCA based on “a place of

business at 26B Walter Jones Blvd, El Paso, Texas.” APPX0023.

However, this is a “Distribution Center” that merely inspects and

transships products having nothing to do with this litigation. APPX0116.

Further, FCA only leases the Distribution Center and employs just six

individuals there. APPX0209.

     The district court permitted Nartron to pursue discovery to try to

prove Nartron’s venue and jurisdiction allegations. In a 30(b)(6)

deposition, FCA’s representative Larry Brown reviewed FCA’s list of

Texas commercial customers for the last five (5) years and confirmed that

FCA did not sell any of the accused PCBAs to any Texas commercial

customer in the list. APPX0206. Brown also reviewed the purchases of

individuals listed in the Texas Consumer Customer List covering Texas

customers during the preceding five (5) years. Id.. FCA did not sell any

of the accused PCBAs to any individual listed in the Texas Consumer

Customer List, instead selling only unrelated servos, remote control

devices and accessories thereto. Id. While FCA's website solicits business



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nationwide, it does not advertise the PCBAs at issue; it does not state a

sales price for the PCBAs or any other PCBA, and purchases cannot be

made through the website. APPX0207. Brown also testified that FCA was

unaware where the PCBAs at issue went after sale to FCA’s customer.

APPX0211-0212.

     B. Background of Related Prior Litigations

     Nartron, FCA, and JVIS have already litigated many issues related

to the underlying case in prior litigations. In or around 2011, JVIS

engaged Nartron to produce PCBAs to integrate into JVIS’s instrument

panel bezels. APPX0021 (¶7). JVIS grew dissatisfied with Nartron’s work

and began to pursue other suppliers. APPX0217. In 2012-2013, JVIS

terminated the contract with Nartron and engaged FCA to make the

PCBAs. APPX0026 (¶36), APPX0027 (¶41), APPX0217. Nartron claimed

FCA copied Nartron’s work to make FCA’s PCBAs. APPX0027 (¶41).

     On or around July 9, 2013, JVIS instituted litigation against

Nartron in the State of Michigan in the Circuit Court for the County of

Macomb, Case No. 13-2742-CK (Hon. Kathryn A. Viviano) alleging that

Nartron failed to perform its obligations under the parties’ agreement.

APPX0026 (¶36). On or around November 11, 2013, Nartron filed a



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counter and third-party complaint naming FCA as a third-party

defendant, alleging misappropriation of Nartron’s trade secrets based on

alleged copying of Nartron’s PCBAs and other claims. Id. The parties

agreed to arbitrate rather than litigate the case. APPX0124, APPX0217.

On September 22, 2017, JVIS initiated JVIS-USA, LLC, et al. v Nartron

Corporation, et al., Case No. 17-3562-CB (Hon. Kathryn A. Viviano) to

confirm the award in the arbitration. APPX0124, APPX0217. Neither the

Michigan Circuit Court cases nor the arbitration resulted in any finding

of misappropriation of any purported Nartron trade secret. APPX0124,

APPX0217. Further, the rights to designs and software of the PCBAs

were decided in favor of FCA and JVIS. APPX0124, APPX0217. The two

prior Michigan Circuit Court cases and intervening arbitration are

collectively referred to as the “Prior Litigations.” Also relevant, Nartron

learned through at least the deposition of FCA’s then President, Mr.

Masaharu Tomita on December 14, 2015, that FCA had committed no

acts in WDTX with respect to FCA’s PCBAs. APPX0187. Despite this

knowledge, Nartron chose to file the underlying litigation in WDTX as

recompense from FCA for losing the JVIS contract to FCA in 2013.

APPX0027 (¶41), APPX0177-0178.



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     In a Case Readiness Status Report in the underlying litigation,

FCA, notified the district court that it intended to file motions to dismiss

for lack of subject matter jurisdiction and/or for failure to state a claim

on the grounds that Nartron’s (i) claims were barred by claim and/or issue

preclusion by the Prior Litigations and (ii) copyright claim was barred by

the statute of limitation. APPX0124. The claims may also be precluded

by JVIS’s contract with Nartron. See APPX0217. FCA contends the rights

to the patented designs and copyrighted software at issue in this case

were already litigated, arbitrated, and adjudged in favor of FCA and JVIS

from July 8, 2013, to November 20, 2017, in the Prior Litigations.

APPX0124. FCA has been waiting for resolution of its pending motions

to dismiss before undertaking the investigation, time, and expense

required for the additional motions.

     C. Procedural Background of this Litigation

     Eleven years after learning of FCA’s alleged unlawful acts, Nartron

filed the underlying action on June 9, 2023, claiming only copyright

infringement against FCA. APPX0011-0018. Nartron amended its

complaint on July 14, 2023, now alleging infringement of the Patents and

copyright infringement. APPX0020-0055. In response, FCA filed motions



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to dismiss for improper venue pursuant to Fed. R. Civ. 12(b)(3) and 28

U.S.C. § 1400(a) and (b) and lack of personal jurisdiction pursuant to Fed.

R. Civ. P. 12(b)(2) on September 14, 2023. APPX0102-0113, APPX0115-

0116.

        On September 27, 2023, Nartron moved for leave to file a second

amended complaint seeking to add Futaba Corporation, a Japanese

company with its principal place of business in Japan. APPX0128.

Nartron alleged that as a foreign entity, Futaba Corporation could be

sued in any federal district court and thereby attempted to establish

jurisdiction and venue as to FCA in WDTX. APPX0136. This motion has

been pending for eight months.

        The district court issued its original Scheduling Order on October

23, 2023, setting the Markman hearing for March 14, 2024, and the

opening of fact discovery for March 15, 2024. Due to scheduling conflicts

and year end holidays, the Parties filed a joint motion to amend the

Scheduling Order resulting in the Markman hearing being adjourned to

April 11, 2024, but on Nartron’s insistence, retaining the March 15, 2024,

start of fact discovery. APPX0190-0191, APPX0257.




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     On March 13, 2024, FCA filed a motion to stay all proceedings until

the district court decided FCA’s pending motions to dismiss for lack of

personal   jurisdiction   and   for     improper      venue.   APPX0244-0254.

Additionally, consistent with the district court’s Exemplary Schedule in

its Standing Order Governing Proceedings, OGP 4.4 (Appendix, p.vi),

FCA requested that discovery be stayed until one day after the Markman

hearing. APPX0253. FCA argued that with Nartron’s threadbare

assertions of personal jurisdiction and venue, it would best not to waste

any more of the parties’ and Court’s resources while the dispositive

motions are pending. APPX0245. Meanwhile, Nartron would suffer no

prejudice since (i) it waited six years to assert its patent claims and ten

years to file its copyright claim and (ii) FCA and Nartron are not current

competitors. APPX0245, APPX0257-0258.

     After rescheduling the Markman hearing to April 10, 2024, just two

days before the scheduled hearing, the district court moved the date

again, this time to May 22, 2024. APPX0262.

     With Nartron having served voluminous discovery on FCA on

March 29, 2024, FCA filed a motion for protective order seeking relief

from the obligation of responding to discovery until at least 21 days after



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the rulings on FCA’s motions to dismiss. APPX0263-0268. The district

court denied both FCA’s motion to stay proceedings (APPX0269) and

motion for protective order (APPX0271) on May 13, 2024. On the same

day, the district court ordered FCA to respond to the pending discovery

within 30 days while postponing the Markman hearing a second time] to

Monday, July 15th because its “schedule remains busy.” APPX0273.

            REASONS WHY THE WRIT SHOULD ISSUE

      Generally, three conditions must be satisfied for a writ to issue: (1)

the petitioner must demonstrate “a clear and indisputable right” to

issuance of the writ; (2) the petitioner must have “no other adequate

method” to obtain the desired relief; and (3) the writ must be “appropriate

under the circumstances.” In re Apple, Inc., 979 F.3d 1332, 1336 (Fed.

Cir. 2020); see also Cheney v. U.S. Dist. Court for the Dist. of Columbia,

542 U.S. 367, 381 (2004). In the context of this case, the first factor is key,

as an erroneous decision denying FCA’s motions to dismiss cannot be

remedied in a future appeal resulting in “irreparable procedural injury.”

In re Apple at 1336. This Court has ruled that district courts must

prioritize the resolution of threshold motions, and failure to do so in a

timely fashion warrants mandamus relief. In re Apple, 52 F.4th 1360,



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1361 (Fed. Cir. 2022); In re Google, 2015 U.S. App. LEXIS 16544 at *1.

     Issuing a writ of mandamus is appropriate here because: i) venue

is improper in WDTX; ii) the district court lacks personal jurisdiction over

FCA; and iii) the district court’s delays in addressing the motions to

dismiss. Therefore, FCA respectfully requests that this Court issue a writ

compelling the district court to dismiss the matter or, in the alternative,

stay the matter pending the motions to dismiss.

I.   Venue and Jurisdiction Requirements Have Not been Met
     and Require this Court to Issue a Writ

     FCA filed motions to dismiss for improper venue and lack of

personal jurisdiction over eight months ago. As explained below, those

motions should be granted, and the underlying litigation dismissed.

     A.    Venue is not Proper for Nartron’s Patent Claims in the
           Western District of Texas

     Section 1400(b) of Title 28 of the U.S.C. is the “sole and exclusive

provision controlling venue in patent infringement actions.” TC

Heartland LLC v. Kraft Foods Group Brands LLC, 581 U.S. 258, 266

(2017) (citation and quotation marks omitted). It provides that “[a]ny

civil action for patent infringement may be brought in the judicial district

where the defendant resides, or where the defendant has committed acts

of infringement and has a regular and established place of business.” 28

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U.S.C. § 1400(b). In matters unique to patent law, Federal Circuit law—

rather than the law of the regional circuit—applies. In re Cray, 871 F.3d

1355, 1360 (Fed. Cir. 2017). Whether venue is proper under § 1400(b) is

such an issue, so Federal Circuit law governs the substantive questions.

Id.; In re ZTE (USA) Inc., 890 F.3d 1008, 1012 (Fed. Cir. 2018).

     When the defendant challenges venue in a patent case, “the

Plaintiff bears the burden of establishing proper venue.” Id. at 1013.

“Plaintiff may carry its burden by establishing facts that, if taken to be

true, establish proper venue.” EMA Electromechanics, Inc. v. Siemens

Corp., No. 6:21-cv-1001-ADA, 2022 U.S. Dist. LEXIS 76297, at *9 (W.D.

Tex. Feb. 4, 2022). While a court must accept as true all allegations in

the complaint in a Rule 12(b)(3) motion to dismiss, “the Court may look

beyond the complaint to evidence submitted by the parties.” Id. (quoting

Ambraco Inc. v. Bossclip B V, 570 F.3d 233, 237-38 (5th Cir. 2009).

           1. FCA does not reside in the Western District of Texas

     Section 1400(b) provides a first avenue for establishing venue

“where the defendant resides.” 28 U.S.C. § 1400(b). “[A] domestic

corporation ‘resides’ only in its State of incorporation for purposes of the

patent venue statute.” TC Heartland, 581 U.S. at 262. Here, Nartron has



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not alleged FCA resides or is incorporated in Texas. APPX0023 (¶18)

(alleging merely “Defendants may be found in this district” (emphasis

added)). Regardless, FCA is incorporated in Alabama. APPX0115 (¶4).

Thus, venue based on residence is improper in this District.

           2. FCA has not Committed Acts of Infringement in the
              Western District of Texas

     Section 1400(b) provides a second avenue for establishing venue

“where the defendant has committed acts of infringement and has a

regular and established place of business.” 28 U.S.C. § 1400(b). A plaintiff

may allege acts of infringement to try to establish venue, but a court need

not accept them “as true where the defendant offers a contradictory

affidavit or evidence.” Intirion Corp. v. Coll. Prods., No. 6:22-cv-00459-

ADA, 2023 U.S. Dist. LEXIS 63040, at *7 (W.D. Tex. Apr.11, 2023). This

is consistent with the trend among circuit courts to accept well-pleaded

facts “only to the extent that such facts are uncontroverted by [a]

defendant’s affidavit.” Pierce v. Shorty Small's, 137 F.3d 1190, 1192 (10th

Cir. 1998); Deb v. Sirva, Inc., 832 F.3d 800, 809 (7th Cir. 2016) (a court

may look to a defendant’s contradictory evidence outside the

pleadings); Est. of Myhra v. Royal Caribbean Cruises, Ltd., 695 F.3d

1233, 1239 (11th Cir. 2012); Bockman v. First Am. Mktg. Corp., 459 F.


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App'x 157, 158 n.1 (3d Cir. 2012).

     Nartron alleged “[v]enue is proper in the Western District of Texas

because Defendants may be found in this district…[and] Defendants

have committed acts of patent infringement in this district.” APPX0023

(¶18). Specifically, Nartron premised its entire basis for venue (and

jurisdiction) on the allegation that “Futaba conducts PCBA prototype

design and engineering, test engineering, box assembly, and PCBA

assembly from its El Paso [Distribution Center] facility.” Id. (¶19).

However, FCA’s Senior Quality Assurance Engineer at the Distribution

Center, Ricardo Moreno, attested that the Distribution Center does not

conduct any of the listed services. APPX0116 (¶8). Rather, the

Distribution Center’s activities consist of visually inspecting and

transshipping electronics parts other than accused PCBAs. Id. (¶9)

Further, Moreno declared “Futaba does not make, use, sell, offer to sell,

or import into the U.S. the PCBAs in, at, through or out of the

Distribution Center.” Id. (¶7). Nartron deposed Moreno and inspected the

facility pursuant to Fed. R. Civ. P. 34 and identified no evidence to

controvert his declaration or to establish that FCA committed acts of

infringement in WDTX.



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     FCA’s webpage advertising likewise does not support any acts of

infringement in WDTX. FCA’s webpages have not offered the PCBAs for

sale as they have not identified the PCBAs at issue or offered any price

therefor. EMA Electromechanics, Inc. v. Siemens Corp., No. 6:21-cv-1001-

ADA, 2022 U.S. Dist. LEXIS 76297, *21 (W.D. Tex. Feb. 4, 2022) (finding

improper venue where “no indication that [ ] advertisements contemplate

a price term”); see, Grp. One, Ltd. v. Hallmark Cards, Inc., 254 F.3d 1041,

1048 (Fed. Cir. 2001) (“contract law traditionally recognizes that mere

advertising and promoting of a product may be nothing more than an

invitation for offers”). Further Nartron admits that JVIS, a third party

in Michigan, contracted with FCA to exclusively make and sell the

accused PCBAs for and to JVIS. APPX0021 (¶¶ 7, 9), APPX0025-0027 (¶¶

30, 33, 35, 41), APPX0030-0031 (¶55a), APPX0033-0034 (¶58).

     Nartron did not allege any other acts constituting infringement in

WDTX, only insufficient non-specific allegations of, e.g., “making, selling,

offering for sale, using, and/or importing in the United States,” induc[ing]

infringement…by selling the [PCBAs] to United States customers,” and

“contribut[ing] to infringement…by making, selling, and distributing the

[PCBAs] in the United States, where the [PCBAs] constitute a material



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part of the claimed invention….” See, e.g., APPX0029 (¶53), APPX0034

(¶63), APPX0036 (¶72).

     Even if Nartron had alleged any other act of infringement in

WDTX, after over two months of discovery on the subject, Nartron was

unable to produce any evidence FCA committed infringing acts in WDTX.

Moreover, evidence produced by FCA rebuts all Nartron’s conclusory

allegations on venue, thus Nartron is unable to satisfy its burden of

establishing proper venue.

     Moreover, Nartron’s indirect patent infringement claims under the

‘185 Patent and ‘762 Patent should be dismissed for failure to plausibly

allege or show FCA knew of the patents. See EMA at *12 (“[t]o state a

claim for indirect…infringement, the complaint must allege that the

accused infringer has knowledge of the patent”). Nartron alleges FCA has

“been aware of the Patents-in-Suit since at least 2017, when the existence

of the ‘185 Patent [and ‘762 Patent] was mentioned in testimony of the

Prior Litigation.” APPX0044 (¶98), APPX0052 (¶128). The “Prior

Litigation,” i.e., JVIS v. Nartron 13-2742-CK (County of Macomb,

Michigan) was pending from July 9, 2013, to Nov. 28, 2017. APPX0205-

0206 (¶7). FCA could not have been made aware of the ‘185 and ‘172



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Patents then because they issued Dec. 12, 2017, and March 5, 2019,

respectively. Id. Because Nartron has not alleged or shown FCA

committed acts of patent infringement in this District or even knew of

the ’185 and ‘172 Patents, the patent claims against FCA should be

dismissed. EMA at *22

     B.    Venue is not Proper for Nartron’s Copyright Claim in
           the Western District of Texas

     Venue for copyright infringement actions is controlled by 28 U.S.C.

§ 1400(a). It recites that a copyright infringement action “may be filed in

the district in which the defendant or his agent resides or may be

found.” 28 U.S.C. § 1400(a). The term “may be found” means where a

party is subject to personal jurisdiction. Time, Inc. v. Manning, 366 F.2d

690, 697-698 (5th Cir. 1966). Huffman v. Activision Publ., No. 4:17-CV-

00815, 2020 U.S. Dist. LEXIS 248904 *14-15 (E.D. Tex. Feb. 25, 2020).

“A corporation ‘may be found’ in a district where personal jurisdiction

over a [d]efendant could be maintained. However, there must be specific

contacts with that specific district, not merely a specific state.” Tayama

v. Riom Corp., No. 2:11-CV-167-J, 2012 U.S. Dist. LEXIS 21643 at *4-5

(N.D. Tex. Feb. 21, 2012).




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     Nartron failed to allege any basis that venue is proper for its

copyright claim. Instead, it alleged “[v]enue is proper…under 28 U.S.C.

§§ 1391 and 1400(b)…”. APPX0023 (¶18). These statutes are for general

and patent litigation venue. Even if it alleged a basis for venue, venue for

its copyright claim is improper because FCA is not subject to personal

jurisdiction in the WDTX as explained below. Therefore, Nartron’s

copyright claim should be dismissed for failure to allege or show proper

venue.

     C.    The Western District of Texas Lacks Personal
           Jurisdiction

     A court must dismiss an action when it lacks personal jurisdiction

over the defendant. Fed. R. Civ. P. 12(b)(2). In analyzing personal

jurisdiction, a court may consider “the complaint, any documents

attached to the complaint, and any documents attached to the motion

to dismiss that are central to the claim and referenced by the

complaint.” Lone Star Fund V (US) LP v. Barclays Bank PLC, 594

F.3d 383, 387 (5th Cir. 2010). For cases brought under the patent

laws, the court applies Federal Circuit law to determine personal

jurisdiction. Autogenomics, Inc. v. Oxford Gene Tech. Ltd., 566 F.3d

1012, 1016 (Fed. Cir. 2009).


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     A court engages in two inquiries in determining whether

jurisdiction exists over an out-of-state defendant: whether a forum

state's long-arm statute permits service of process and whether

assertion of personal jurisdiction violates due process. Breckenridge

Pharm., Inc. v. Metabolite Labs., Inc., 444 F.3d 1356, 1361 (Fed. Cir.

2006). Because the Texas long-arm statute has been interpreted to

extend to the limit of due process, the two inquiries are the same for

district courts in Texas. Religious Tech. Ctr. v. Liebreich, 339 F.3d

369, 373 (5th Cir. 2003). “The constitutional touchstone for

determining whether an exercise of personal jurisdiction comports

with due process ‘remains whether the defendant purposefully

established minimum contacts in the forum state.’”                      Nuance

Communs., Inc. v. Abbyy Software House, 626 F.3d 1222, 1230-1231

(Fed. Cir. 2010) (quoting Burger King Corp. v. Rudzewicz, 471 U.S.

462, 474 (1985). From this touchstone of “minimum contacts,” courts

have recognized two categories of personal jurisdiction, specific and

general.

     Specific jurisdiction may be asserted where a “corporation’s in-

state activity is ‘continuous and systematic’ and that activity gave rise



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to the episode-in-suit.” Goodyear Dunlop Tires Operations, S.A. v.

Brown, 564 U.S. 915, 923 (2011) (quoting Int’l Shoe Co. v Wash., 326

U.S. 310, 317 (1945). Even “the commission of certain ‘single or

occasional acts’ in a State may be sufficient to render a corporation

answerable in that State with respect to those acts, though not with

respect to matters unrelated to the forum connections.” Id. (quoting Int’l

Shoe at 318) (emphasis added). General jurisdiction is when a

corporation’s “continuous corporate operations within a state [are] so

substantial and of such a nature as to justify suit against it on causes

of action arising from dealings entirely distinct from those activities.”

Int’l Shoe at 318. FCA is subject to neither general nor specific

jurisdiction.

         1. FCA is not Subject to General Jurisdiction in the
            Western District of Texas

      General jurisdiction over out-of-state corporations may be found

“when their affiliations with the State are so ‘continuous and systematic’

as to render them essentially at home in the forum State.” Goodyear, at

919 (quoting Int’l Shoe, at 317). The “place of incorporation and principal

place of business are paradigm bases for general jurisdiction.” Daimler

AG v. Bauman, 571 U.S. 117, 137 (2014) (internal quotation and


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correction omitted). “Accordingly, the inquiry under Goodyear is not

whether a foreign corporation’s in-forum contacts are ‘continuous and

systematic,’ it is whether that corporation’s ‘affiliations with the State

are so ‘continuous and systematic’ as to render [it] essentially at home in

the forum State.’” Id. at 138-139 (quoting Goodyear, 564 U.S. at 919).

Those “affiliations with the State” are the place of incorporation and the

principal place of business. Daimler, at 137, 139.

     The general jurisdiction inquiry does not focus solely on the extent

of a corporation’s contacts within a state. “A corporation that operates in

many places can scarcely be deemed at home in all of them. Otherwise,

‘at home’ would be synonymous with ‘doing business’ tests framed before

specific jurisdiction evolved in the United States.” Daimler, at 140 n.20.

As the Fifth Circuit observed in the wake of Goodyear and Daimler: “[i]t

is, therefore, incredibly difficult to establish general jurisdiction in a

forum other than the place of incorporation or principal place of

business.” Monkton Ins. Servs. v. Ritter, 768 F.3d 429, 432 (5th Cir. 2014).

      Nartron alleged only that “Defendants’ contacts with the State

 of Texas are systematic and continuous so as to render Defendants

 essentially at home in Texas.” APPX0023 (¶19),. Nartron admits the



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 other Defendants, Does 1-10, “are unknown to Nartron at this time”

 (APPX0022 (¶14)) and therefore their activity cannot form the basis

 for making that allegation. Moreover, FCA does not have “systematic

 and continuous” contacts with Texas rendering it “at home” in Texas.

 FCA is an Alabama corporation (APPX0115 (¶4)), and its principal

 place of business is in Illinois (APPX0119 ). Thus, its “systematic and

 continuous contacts” or “home” would be with or in Alabama and/or

 Illinois, not Texas. See Daimler, at 138, 140 n.20. Merely doing

 business in Texas does not establish general jurisdiction in Texas. See

 Daimler, at 140 n.20. As such, Nartron has not satisfied its burden of

 establishing general personal jurisdiction over FCA.

        2. FCA is Not Subject to Specific Jurisdiction in the
           Western District of Texas

     In determining whether specific personal jurisdiction is present, a

court must consider “the interests of the forum State and of the plaintiff

in proceeding with the cause in the plaintiff’s forum of choice.” Kulko v.

Superior Court of Cal., City and County of San Francisco, 436 U.S. 84, 92

(1978). However, the “primary concern” for a court to consider is “the

burden on the defendant.” World-Wide Volkswagen Corp. v. Woodson, 444

U.S. 286, 292 (1980). When evaluating that burden, restrictions on


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personal jurisdiction “are more than a guarantee of immunity from

inconvenient or distant litigation. They are a consequence of territorial

limitations on the power of the respective States.” Hanson v. Denckla,

357 U.S. 235, 251 (1958). One State’s power to exercise its authority to

try cases in its courts is necessarily limited by that same power of other

States. World-Wide Volkswagen, 444 U.S. at 293. In fact, this interest

may deprive a court of jurisdiction when it otherwise seems proper.

“[E]ven if the forum State is the most convenient location for litigation,

the Due Process Clause, acting as an instrument of interstate federalism,

may sometimes act to divest the State of its power to render a valid

judgment.” World-Wide Volkswagen, at 294.

     Courts apply a three-prong test to determine whether specific

jurisdiction exists over a defendant: “(1) whether the defendant

purposefully directed activities at residents of the forum; (2) whether the

claim arises out of or relates to those activities; and (3) whether assertion

of personal jurisdiction is reasonable and fair.” Nuance Communs, at

1231. The focus of the specific jurisdiction inquiry is on “the relationship

between the defendant, the forum, and the litigation.” Freudensprung v.

Offshore Technical Servs., Inc., 379 F.3d 327, 343 (5th Cir. 2004) (quoting



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Burger King Corp. v. Rudzewicz, 471 U.S. 462, 474 (1985)). “[R]andom,”

“fortuitous,” or “attenuated” contacts do not satisfy the minimum

contacts requirement. Id. at 475 (quoting, Keeton v. Hustler Magazine,

Inc., 465 U.S. 770, 774 (1984). Further, the plaintiff has the burden to

show minimum contacts exist under the first two prongs. Elecs. for

Imaging Inc. v. Coyle, 340 F.3d 1344, 1350 (Fed. Cir. 2003).

     For a court to exercise specific jurisdiction over a claim, there must

be an “affiliation between the forum and the underlying controversy,

principally, activity or an occurrence that takes place in the forum State.”

Goodyear, 564 U.S. at 919 (internal quotes omitted). When there is no

such connection, specific jurisdiction is lacking regardless of the extent of

a defendant’s unconnected activities in the State. See id. at 930-931 n.6

(“even regularly occurring sales of a product in a State do not justify the

exercise of jurisdiction over a claim unrelated to those sales”). Ultimately,

“a defendant’s … continuous activity of some sorts within a state...is not

enough to support the demand that the corporation be amenable to suits

unrelated to that activity.” Bristol-Myers Squibb Co. v. Superior Court of

California, San Francisco Cnty., 582 U.S. 255, 264 (2017) (internal

quotes omitted).



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     To try to establish specific personal jurisdiction here, Nartron

alleged the following:

     Futaba [] has a place of business [in] El Paso, Texas. At that
     location, Futaba (a) regularly transact [sic] and conduct [sic]
     business within the State of Texas and (b) have [sic] otherwise
     made or established contacts with the state of Texas sufficient
     to permit the exercise of personal jurisdiction. In particular,
     Futaba conducts PCBA prototype design and engineering, test
     engineering, box assembly, and PCBA assembly from its El
     Paso facility.

APPX0023 (¶19) (emphasis added). The first sentence is true: FCA has

a Distribution Center in El Paso, Texas. The second is generic and

insufficient to establish jurisdiction in Texas. The third is inaccurate.

The El Paso facility is merely a “Distribution Center” that does not

conduct any of the listed services. APPX0115-0116 (¶¶ 2, 8). The

Distribution Center’s activities are limited to visually inspecting and

transshipping electronics parts other than accused PCBAs and “Futaba

does not make, use, sell, offer to sell, or import into the U.S. the PCBAs

in, at, through or out of the Distribution Center” APPX0016 (¶¶ 7-9),.

With FCA’s limited activities in Texas having no connection to this

underlying dispute, specific jurisdiction is not present.




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        3. FCA is Not Subject to Jurisdiction in the Western
           District of Texas Under a Stream of Commerce Theory

     In its opposition to FCA’s motion to dismiss for lack of personal

jurisdiction, Nartron argued that FCA is subject to specific personal

jurisdiction under a stream of commerce theory. However, Nartron pled

only a single paragraph to support its assertion that the district court

had personal jurisdiction over FCA, and that paragraph makes no

mention of a stream of commerce theory. APPX0023. Further, Nartron

has failed to allege any facts to support jurisdiction under that theory.

For that reason alone, this Court should reject the stream of commerce

theory as a basis for jurisdiction.

     Beyond that, the requirements for establishing jurisdiction under a

stream of commerce theory have long been unresolved. The Court in

Asahi Metal Industry Co. v. Superior Court of California, Solano County,

480 U.S. 102 (1987), was split on whether mere placement in the stream

of commerce is sufficient to establish jurisdiction, or whether intent that

the products reach the forum in question is required, with four justices

finding for each requirement. Later, a plurality of the Court in McIntyre

Machinery Ltd. v. Nicastro, 564 U.S. 873 (2011) held there was no

jurisdiction over the defendant under a stream of commerce theory


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because the defendant had not purposefully availed himself of the forum

state's laws. With no binding precedent, this Circuit has declined to take

a position on the requirements of a stream of commerce jurisdictional test

because the resolution of the cases before it did not require it. Celgard,

LLC v. SK Innovation Co. 792 F.3d 1373, 1382 (Fed. Cir. 2015).

     In Celgard, this Court examined a contract manufacturer’s role in

the stream of commerce and found jurisdiction lacking. Id. Plaintiff

argued the district court had personal jurisdiction over defendant under

the stream of commerce theory because: 1) “it sells separators [the

allegedly infringing product] to other companies, with established

distribution channels, that incorporate the infringing separators into CE

devices that are sold in North Carolina [the forum state];” 2) plaintiff’s

tests “show that separators have been found in batteries in CE devices

purchased in North Carolina that are consistent” with defendant’s

separators; and 3) defendant’s “biggest customers provide a portion of

batteries to Apple and Dell” which sell their products in North Carolina.

Id. at 1380-1381 (internal quote omitted). This Court found jurisdiction

lacking because the “record evidence shows only that [defendant] sells its

products to OEMs who then sell completed batteries to [consumer



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electronics] manufacturers that resell them in the United States.” Id.

     Additionally, various district courts have issued well-reasoned

opinions finding jurisdiction lacking under a stream of commerce theory

where component part manufacturers have their goods incorporated into

products sold nationally.

     [Plaintiff’s] theory rests on the idea [defendant], by selling a
     component part to a manufacturer like Hauppauge, which in
     turn sells finished products in major international retail
     stores, can fairly foresee being hailed into federal court in
     Texas. The logic of such a theory would subject [defendant] to
     personal jurisdiction in all 50 states by virtue of Hauppauge’s
     conduct. If the Due Process Clause is to be reduced to nothing,
     …it will not be by this Court.

Silicon Labs., Inc. v. Cresta Tech. Corp., No. A-14-CA-318-SS, 2014 U.S.

Dist. LEXIS 95711, *7-8 (W.D. Tex. July 14, 2014). That court cautioned

against the stream of commerce theory becoming a single “interconnected

ocean water” and found the assertion of jurisdiction would not be fair.

Silicon Labs. at *9.1

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 See also, ASM Assembly Sys. Switz. GmbH v. QTS Eng'g, No. 15CV714
BEN (RBB), 2016 U.S. Dist. LEXIS 7720, *6 (S.D. Cal. 2016) (“California,
has no interest in adjudicating a dispute between two foreign
corporations that have no connection to California and a Massachusetts
corporation that has no connection to California”); Target Training Int’l,
Ltd. v. Extended Disc Int’l. Oy, Ltd., No. 4:11-cv-02531, 2015 U.S. Dist.
LEXIS 182823 *29 (S.D. Tex. March 4, 2015) (“Texas has little interest
in adjudicating the suit between TTI and EDI, since neither is a Texas
company, and there is no evidence that EDI's allegedly infringing

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      FCA sold the PCBAs at issue to JVIS in Michigan. APPX0116 (¶10).

JVIS incorporated those PCBAs into instrument bezels and sold them to

a customer which assembled them into vehicles that it sold to dealers.

APPX0200. Third-party acts two steps down the supply chain do not

create jurisdiction over FCA when it has not directed any act related to

the claimed infringement to Texas and when FCA’s scarce activity in

Texas has nothing to do with this matter.

II.   At a Minimum, Mandamus Is Proper Because the District
      Court Has Failed To Timely Address the Transfer Motion

      At a minimum, mandamus is warranted to compel the district court

to address FCA’s motions to dismiss. The Court has emphasized that a

district court should prioritize and resolve threshold motions before it

addresses other substantive issues in a case. In re Apple Inc., 979 F.3d

1332, 1337 (Fed. Cir. 2020) (“once a party files a transfer motion,

disposing of that motion should unquestionably take top priority.”)

(applying Fifth Circuit law); In re Nintendo Co., 544 F. App’x at 941 (“a

trial court must first address whether it is a proper and convenient venue

before addressing any substantive portion of the case”) (applying Fifth



activities occurred in Texas…[and] there is no showing that Texas has
any particular interest in this lawsuit.”)

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Circuit law).

     Without issuance of a writ, prejudice can occur as “a lengthy delay

in ruling on a request for relief can amount to a denial of the right to have

that request meaningfully considered.” In re Google, Inc., 2015 U.S. App.

LEXIS 16544, at *2. The Court has explained “that lengthy delays in

resolving transfer motions can frustrate the intent of 28 U.S.C. § 1404(a)

by forcing defendants ‘to expend resources litigating substantive matters

in an inconvenient venue while a motion to transfer lingers unnecessarily

on the docket.’” In re TracFone Wireless, Inc. 848 Fed. Appx. 899, 900

(Fed. Cir. 2021) (quoting In re Google, Inc. at *2). Further, undue delay

in addressing threshold motions, “may unnecessarily require the

expenditure of judicial resources in both the transferor and transferee

courts.” In re Apple Inc., 52 F.4th 1360, 1362 (Fed. Cir. 2022).

     As such, in Google, the Court granted mandamus where a district

court had let a transfer motion linger for eight months and where Google

“made a compelling case” that the trial court “arbitrarily refused to

consider the merits of its transfer motion.” In re Google at *2. Similarly,

the TracFone Court concluded “that a trial court’s failure to act on a fully

briefed transfer motion that had been pending for approximately eight



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months while pressing forward with discovery and claim construction

issues amounted to an arbitrary refusal to consider the merits of the

transfer motion.” In re TracFone at 900. Likewise, the Court found “the

lengthy delay and upcoming Markman hearing” necessitated granting

mandamus such that “the district court must stay all proceedings

concerning the substantive issues of the case and all discovery until such

time that it has issued a ruling on the motion capable of providing

meaningful appellate review of the reasons for its decision.” In re SK

Hynix, Inc., 835 Fed. Appx. 600, 601 (Fed. Cir. 2021).

     The Court’s precedent is clear and compels granting mandamus.

FCA filed its motions to dismiss on September 14, 2023. With the motions

fully briefed and no indication of a hearing or decision date, on March 13,

2024, FCA filed its motion to stay proceedings until the motions to

dismiss were decided or, at a minimum, to stay discovery until one day

after the April 11, 2024, Markman hearing. FCA argued the adjournment

of the start of fact discovery would be consistent with the court’s

Exemplary Schedule in its Standing Order Governing Proceedings, OGP

4.4 which starts fact discovery after the Markman hearing. APPX0216.

Moreover, any prejudice to Nartron was negligible in light of its ten-year



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delay in filing the underlying action and the fact the parties were no

longer competitors. Id. Since then, the district court has, sua sponte,

postponed the Markman hearing twice, first to May 22, 2024, and second

to July 15, 2024. Meanwhile, Nartron served voluminous discovery on

March 29, 2024. Seeking relief from the obligation to respond to the

discovery, FCA filed a motion for protective order on April 18, 2024.

APPX0234. The district court denied both FCA’s motion to stay

proceedings (APPX0240) and motion for protective order (APPX0242) on

May 13, 2024, while also ordering FCA to respond to the pending

discovery within 30 days. In doing so, the district court explained that

its, “schedule remains very busy.” APPX0244.

     FCA’s motions to dismiss have been pending for over eight months

during which time FCA has been burdened with numerous discovery

issues and requests, and has been marched through claim construction.

With cursory orders, the district court granted Nartron’s request to

compel additional discovery on the motions to dismiss, denied FCA’s

request to compel claim construction discovery, granted Nartron’s

request to compel merits-based fact discovery, and now denied FCA’s

motions for relief from the expedited pace of the district court’s



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scheduling order. The scheduling order even forced the Parties to serve

their respective Final Infringement and Invalidity Contentions despite

not having a claim construction ruling. APPX0195. The district court’s

extreme delay and its “continued refusal” to heed the instruction to

resolve threshold motions to dismiss before proceeding to other

substantive aspects of the case warrant the sort of “supervisory”

intervention that justifies the writ of mandamus. See In re Nintendo Co.,

544 F. App’x at 936; In re TracFone at 900. Thus, mandamus is

warranted, and the Court should, at a minimum, order the district court

to stay discovery and all proceedings concerning the substantive issues

of the case until it has ruled on FCA’s motions to dismiss. In re SK Hynix

at 601.

                              CONCLUSION

        For the foregoing reasons, the Court should issue a writ of

mandamus requiring the district court to grant FCA’s motion to dismiss.

Alternatively, the Court should issue a writ of mandamus staying this

case and requiring the district court to rule on FCA’s motions within 30

days.




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                     CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitations of Federal

Rule of Appellate Procedure 32(a)(7)(B) and the Rules of this Court,

because it contains 6,967 words (as determined by the Microsoft Word

word-processing system used to prepare the brief), excluding the parts of

the   brief     exempted     by   Federal    Rule      of   Appellate       Procedure

32(a)(7)(B)(iii).

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of Appellate Procedure 32(a)(5) and the type-style requirements of

Federal Rule of Appellate Procedure 32(a)(6) because it has been

prepared in a proportionally spaced typeface using the Microsoft Word

word-processing system in 14-point Century Schoolbook font.




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                          INTRODUCTION

     Petitioner Futaba Corporation of America (“FCA”) petitions this

Court to issue a writ of mandamus to the United States District Court

for the Western District of Texas (“WDTX”) to dismiss this case. The

case involves only patent and copyright infringement claims. Over

eight months ago, FCA filed motions to dismiss for improper venue per

Fed. R. Civ. P. 12(b)(3) and 28 U.S.C. §1400(a) and (b), and lack of

personal jurisdiction per Fed. R. of Civ. P. 12(b)(2). Those motions

remain pending. Meanwhile, the district court has promptly issued

orders advancing the case, including an order compelling FCA to

participate in voluminous merits-based, fact discovery and orders

denying FCA’s motions for a stay and relief from discovery.

     This Court prioritizes addressing threshold issues, such as

motions based on improper venue: “once a party files a transfer motion,

disposing of that motion should unquestionably take priority.” In re

Apple, Inc., 979 F.3d 1332, 1337 (Fed. Cir. 2020); see, In re SK Hynix

Inc., 835 Fed. Appx. 600 (Fed. Cir. 2021); In re TracFone Wireless, Inc.,

848 Fed. Appx. 899 (Fed. Cir. 2021). Further, personal jurisdiction is

one of the “threshold grounds for denying audience to a case on the



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merits” that a court must address first. In re Bd. of Regents of the Univ.

of   Tex.    Sys.,   435   Fed.   Appx.       945,      946   (Fed.   Cir.   2011)

(quoting, Sinochem Intern. Co. Ltd. v. Malaysia Intern. Shipping

Corp., 549 U.S. 422, 423 (2007). While district courts have some degree

of “discretion as to how to handle their dockets,” id., the district court’s

delay here has surpassed what should be permissible.

      The record evidence overwhelmingly shows venue is improper

and personal jurisdiction is lacking. Therefore, this Court should

issue a writ of mandamus compelling WDTX to dismiss this case or,

at a minimum, compelling the district court to stay the case,

including substantive discovery and claim construction, until after

such time it decides the pending motions to dismiss.

                            RELIEF SOUGHT

      FCA respectfully requests a writ of mandamus compelling the

district court to dismiss this case or, in the alternative, staying the

case pending rulings on FCA’s motions to dismiss.

                           ISSUES PRESENTED

      Whether the district court abused its discretion by failing to

rule on motions to dismiss for improper venue and lack of personal



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jurisdiction filed over eight months ago.

      Whether a stay should be granted until the district court decides

FCA’s pending motions to dismiss for improper venue and lack of

personal jurisdiction, which have been pending for over eight months.

                  JURISDICTIONAL STATEMENT

      The Federal Circuit has jurisdiction over this petition because

the underlying case in WDTX is a patent case. See 28 U.S.C. §§ 1295,

1331, and 1338(a). Mandamus is available “to correct a clear abuse of

discretion or usurpation of judicial power.” In re TS Tech. United

States Corp., 551 F.3d 1315, 1318 (Fed. Cir. 2008). As this Court has

previously ruled, failure to timely rule on a motion to transfer

warrants mandamus. In re TracFone, supra; In re SK Hynix; supra; In

re Google, No. 2015-138, 2015 U.S. App. LEXIS 16544 at *1 (Fed. Cir.

July 16, 2015).

                         STATEMENT OF FACTS

     A. Background on Parties, Patents, Copyright, and Claims

     Plaintiff UUSI, LLC d/b/a Nartron (“Nartron”) and Defendant are

contract manufacturers of printed circuit board assemblies (“PCBAs”) for

instrument   panel   bezels of     automobiles.        APPX0021.       They   are



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headquartered in, respectively, Michigan and Illinois. APPX0022. A third

party in Michigan, JVIS – USA, LLC (“JVIS”), contracted with FCA in

2013 to make PCBAs for JVIS exclusively and to JVIS’s specifications.

APPX0021. FCA made the PCBAs in Alabama and sold them to JVIS in

Michigan. APPX0119-0120, APPX0116.

     In the underlying action, Nartron accuses FCA of copying PCBAs

made by Nartron, and making and selling them from 2013 to the present,

thereby   infringing     U.S.   Patent       Nos.   9,538,589     (“’589    Patent”)

(APPX0057), 9,840,185 (“’185 Patent”) (APPX0071), and 10,220,762

(“’762 Patent”) (APPX0086) (collectively, “Patents”). See, e.g., APPX0029,

APPX0037, APPX0046. The Patents are part of the same family, were

applied for by Nartron in 2014, and began issuing in 2017. APPX0024.

     Nartron also accuses FCA of copying the software object code for

Nartron’s PCBAs in 2013, thereby infringing Nartron’s copyright on the

software source code therefor, i.e., Printed Circuit Board Software Code,

Registration No. TX 9-263-201. APPX0027-0028, APPX0101. Nartron

applied for the copyright on May 15, 2023. APPX0101.

     Nartron vaguely alleged venue is proper in WDTX. However, FCA

did not make, use, sell, offer to sell, or import any of the PCBAs or a



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component thereof, or induce or contribute to any such act in WDTX.

APPX0205.

     Nartron alleged personal jurisdiction over FCA based on “a place of

business at 26B Walter Jones Blvd, El Paso, Texas.” APPX0023.

However, this is a “Distribution Center” that merely inspects and

transships products having nothing to do with this litigation. APPX0116.

Further, FCA only leases the Distribution Center and employs just six

individuals there. APPX0209.

     The district court permitted Nartron to pursue discovery to try to

prove Nartron’s venue and jurisdiction allegations. In a 30(b)(6)

deposition, FCA’s representative Larry Brown reviewed FCA’s list of

Texas commercial customers for the last five (5) years and confirmed that

FCA did not sell any of the accused PCBAs to any Texas commercial

customer in the list. APPX0206. Brown also reviewed the purchases of

individuals listed in the Texas Consumer Customer List covering Texas

customers during the preceding five (5) years. Id.. FCA did not sell any

of the accused PCBAs to any individual listed in the Texas Consumer

Customer List, instead selling only unrelated servos, remote control

devices and accessories thereto. Id. While FCA's website solicits business



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nationwide, it does not advertise the PCBAs at issue; it does not state a

sales price for the PCBAs or any other PCBA, and purchases cannot be

made through the website. APPX0207. Brown also testified that FCA was

unaware where the PCBAs at issue went after sale to FCA’s customer.

APPX0211-0212.

     B. Background of Related Prior Litigations

     Nartron, FCA, and JVIS have already litigated many issues related

to the underlying case in prior litigations. In or around 2011, JVIS

engaged Nartron to produce PCBAs to integrate into JVIS’s instrument

panel bezels. APPX0021 (¶7). JVIS grew dissatisfied with Nartron’s work

and began to pursue other suppliers. APPX0217. In 2012-2013, JVIS

terminated the contract with Nartron and engaged FCA to make the

PCBAs. APPX0026 (¶36), APPX0027 (¶41), APPX0217. Nartron claimed

FCA copied Nartron’s work to make FCA’s PCBAs. APPX0027 (¶41).

     On or around July 9, 2013, JVIS instituted litigation against

Nartron in the State of Michigan in the Circuit Court for the County of

Macomb, Case No. 13-2742-CK (Hon. Kathryn A. Viviano) alleging that

Nartron failed to perform its obligations under the parties’ agreement.

APPX0026 (¶36). On or around November 11, 2013, Nartron filed a



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counter and third-party complaint naming FCA as a third-party

defendant, alleging misappropriation of Nartron’s trade secrets based on

alleged copying of Nartron’s PCBAs and other claims. Id. The parties

agreed to arbitrate rather than litigate the case. APPX0124, APPX0217.

On September 22, 2017, JVIS initiated JVIS-USA, LLC, et al. v Nartron

Corporation, et al., Case No. 17-3562-CB (Hon. Kathryn A. Viviano) to

confirm the award in the arbitration. APPX0124, APPX0217. Neither the

Michigan Circuit Court cases nor the arbitration resulted in any finding

of misappropriation of any purported Nartron trade secret. APPX0124,

APPX0217. Further, the rights to designs and software of the PCBAs

were decided in favor of FCA and JVIS. APPX0124, APPX0217. The two

prior Michigan Circuit Court cases and intervening arbitration are

collectively referred to as the “Prior Litigations.” Also relevant, Nartron

learned through at least the deposition of FCA’s then President, Mr.

Masaharu Tomita on December 14, 2015, that FCA had committed no

acts in WDTX with respect to FCA’s PCBAs. APPX0187. Despite this

knowledge, Nartron chose to file the underlying litigation in WDTX as

recompense from FCA for losing the JVIS contract to FCA in 2013.

APPX0027 (¶41), APPX0177-0178.



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     In a Case Readiness Status Report in the underlying litigation,

FCA, notified the district court that it intended to file motions to dismiss

for lack of subject matter jurisdiction and/or for failure to state a claim

on the grounds that Nartron’s (i) claims were barred by claim and/or issue

preclusion by the Prior Litigations and (ii) copyright claim was barred by

the statute of limitation. APPX0124. The claims may also be precluded

by JVIS’s contract with Nartron. See APPX0217. FCA contends the rights

to the patented designs and copyrighted software at issue in this case

were already litigated, arbitrated, and adjudged in favor of FCA and JVIS

from July 8, 2013, to November 20, 2017, in the Prior Litigations.

APPX0124. FCA has been waiting for resolution of its pending motions

to dismiss before undertaking the investigation, time, and expense

required for the additional motions.

     C. Procedural Background of this Litigation

     Eleven years after learning of FCA’s alleged unlawful acts, Nartron

filed the underlying action on June 9, 2023, claiming only copyright

infringement against FCA. APPX0011-0018. Nartron amended its

complaint on July 14, 2023, now alleging infringement of the Patents and

copyright infringement. APPX0020-0055. In response, FCA filed motions



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to dismiss for improper venue pursuant to Fed. R. Civ. 12(b)(3) and 28

U.S.C. § 1400(a) and (b) and lack of personal jurisdiction pursuant to Fed.

R. Civ. P. 12(b)(2) on September 14, 2023. APPX0102-0113, APPX0115-

0116.

        On September 27, 2023, Nartron moved for leave to file a second

amended complaint seeking to add Futaba Corporation, a Japanese

company with its principal place of business in Japan. APPX0128.

Nartron alleged that as a foreign entity, Futaba Corporation could be

sued in any federal district court and thereby attempted to establish

jurisdiction and venue as to FCA in WDTX. APPX0136. This motion has

been pending for eight months.

        The district court issued its original Scheduling Order on October

23, 2023, setting the Markman hearing for March 14, 2024, and the

opening of fact discovery for March 15, 2024. Due to scheduling conflicts

and year end holidays, the Parties filed a joint motion to amend the

Scheduling Order resulting in the Markman hearing being adjourned to

April 11, 2024, but on Nartron’s insistence, retaining the March 15, 2024,

start of fact discovery. APPX0190-0191, APPX0257.




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     On March 13, 2024, FCA filed a motion to stay all proceedings until

the district court decided FCA’s pending motions to dismiss for lack of

personal   jurisdiction   and   for     improper      venue.   APPX0244-0254.

Additionally, consistent with the district court’s Exemplary Schedule in

its Standing Order Governing Proceedings, OGP 4.4 (Appendix, p.vi),

FCA requested that discovery be stayed until one day after the Markman

hearing. APPX0253. FCA argued that with Nartron’s threadbare

assertions of personal jurisdiction and venue, it would best not to waste

any more of the parties’ and Court’s resources while the dispositive

motions are pending. APPX0245. Meanwhile, Nartron would suffer no

prejudice since (i) it waited six years to assert its patent claims and ten

years to file its copyright claim and (ii) FCA and Nartron are not current

competitors. APPX0245, APPX0257-0258.

     After rescheduling the Markman hearing to April 10, 2024, just two

days before the scheduled hearing, the district court moved the date

again, this time to May 22, 2024. APPX0262.

     With Nartron having served voluminous discovery on FCA on

March 29, 2024, FCA filed a motion for protective order seeking relief

from the obligation of responding to discovery until at least 21 days after



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the rulings on FCA’s motions to dismiss. APPX0263-0268. The district

court denied both FCA’s motion to stay proceedings (APPX0269) and

motion for protective order (APPX0271) on May 13, 2024. On the same

day, the district court ordered FCA to respond to the pending discovery

within 30 days while postponing the Markman hearing a second time] to

Monday, July 15th because its “schedule remains busy.” APPX0273.

            REASONS WHY THE WRIT SHOULD ISSUE

      Generally, three conditions must be satisfied for a writ to issue: (1)

the petitioner must demonstrate “a clear and indisputable right” to

issuance of the writ; (2) the petitioner must have “no other adequate

method” to obtain the desired relief; and (3) the writ must be “appropriate

under the circumstances.” In re Apple, Inc., 979 F.3d 1332, 1336 (Fed.

Cir. 2020); see also Cheney v. U.S. Dist. Court for the Dist. of Columbia,

542 U.S. 367, 381 (2004). In the context of this case, the first factor is key,

as an erroneous decision denying FCA’s motions to dismiss cannot be

remedied in a future appeal resulting in “irreparable procedural injury.”

In re Apple at 1336. This Court has ruled that district courts must

prioritize the resolution of threshold motions, and failure to do so in a

timely fashion warrants mandamus relief. In re Apple, 52 F.4th 1360,



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1361 (Fed. Cir. 2022); In re Google, 2015 U.S. App. LEXIS 16544 at *1.

     Issuing a writ of mandamus is appropriate here because: i) venue

is improper in WDTX; ii) the district court lacks personal jurisdiction over

FCA; and iii) the district court’s delays in addressing the motions to

dismiss. Therefore, FCA respectfully requests that this Court issue a writ

compelling the district court to dismiss the matter or, in the alternative,

stay the matter pending the motions to dismiss.

I.   Venue and Jurisdiction Requirements Have Not been Met
     and Require this Court to Issue a Writ

     FCA filed motions to dismiss for improper venue and lack of

personal jurisdiction over eight months ago. As explained below, those

motions should be granted, and the underlying litigation dismissed.

     A.    Venue is not Proper for Nartron’s Patent Claims in the
           Western District of Texas

     Section 1400(b) of Title 28 of the U.S.C. is the “sole and exclusive

provision controlling venue in patent infringement actions.” TC

Heartland LLC v. Kraft Foods Group Brands LLC, 581 U.S. 258, 266

(2017) (citation and quotation marks omitted). It provides that “[a]ny

civil action for patent infringement may be brought in the judicial district

where the defendant resides, or where the defendant has committed acts

of infringement and has a regular and established place of business.” 28

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U.S.C. § 1400(b). In matters unique to patent law, Federal Circuit law—

rather than the law of the regional circuit—applies. In re Cray, 871 F.3d

1355, 1360 (Fed. Cir. 2017). Whether venue is proper under § 1400(b) is

such an issue, so Federal Circuit law governs the substantive questions.

Id.; In re ZTE (USA) Inc., 890 F.3d 1008, 1012 (Fed. Cir. 2018).

     When the defendant challenges venue in a patent case, “the

Plaintiff bears the burden of establishing proper venue.” Id. at 1013.

“Plaintiff may carry its burden by establishing facts that, if taken to be

true, establish proper venue.” EMA Electromechanics, Inc. v. Siemens

Corp., No. 6:21-cv-1001-ADA, 2022 U.S. Dist. LEXIS 76297, at *9 (W.D.

Tex. Feb. 4, 2022). While a court must accept as true all allegations in

the complaint in a Rule 12(b)(3) motion to dismiss, “the Court may look

beyond the complaint to evidence submitted by the parties.” Id. (quoting

Ambraco Inc. v. Bossclip B V, 570 F.3d 233, 237-38 (5th Cir. 2009).

           1. FCA does not reside in the Western District of Texas

     Section 1400(b) provides a first avenue for establishing venue

“where the defendant resides.” 28 U.S.C. § 1400(b). “[A] domestic

corporation ‘resides’ only in its State of incorporation for purposes of the

patent venue statute.” TC Heartland, 581 U.S. at 262. Here, Nartron has



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not alleged FCA resides or is incorporated in Texas. APPX0023 (¶18)

(alleging merely “Defendants may be found in this district” (emphasis

added)). Regardless, FCA is incorporated in Alabama. APPX0115 (¶4).

Thus, venue based on residence is improper in this District.

           2. FCA has not Committed Acts of Infringement in the
              Western District of Texas

     Section 1400(b) provides a second avenue for establishing venue

“where the defendant has committed acts of infringement and has a

regular and established place of business.” 28 U.S.C. § 1400(b). A plaintiff

may allege acts of infringement to try to establish venue, but a court need

not accept them “as true where the defendant offers a contradictory

affidavit or evidence.” Intirion Corp. v. Coll. Prods., No. 6:22-cv-00459-

ADA, 2023 U.S. Dist. LEXIS 63040, at *7 (W.D. Tex. Apr.11, 2023). This

is consistent with the trend among circuit courts to accept well-pleaded

facts “only to the extent that such facts are uncontroverted by [a]

defendant’s affidavit.” Pierce v. Shorty Small's, 137 F.3d 1190, 1192 (10th

Cir. 1998); Deb v. Sirva, Inc., 832 F.3d 800, 809 (7th Cir. 2016) (a court

may look to a defendant’s contradictory evidence outside the

pleadings); Est. of Myhra v. Royal Caribbean Cruises, Ltd., 695 F.3d

1233, 1239 (11th Cir. 2012); Bockman v. First Am. Mktg. Corp., 459 F.


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App'x 157, 158 n.1 (3d Cir. 2012).

     Nartron alleged “[v]enue is proper in the Western District of Texas

because Defendants may be found in this district…[and] Defendants

have committed acts of patent infringement in this district.” APPX0023

(¶18). Specifically, Nartron premised its entire basis for venue (and

jurisdiction) on the allegation that “Futaba conducts PCBA prototype

design and engineering, test engineering, box assembly, and PCBA

assembly from its El Paso [Distribution Center] facility.” Id. (¶19).

However, FCA’s Senior Quality Assurance Engineer at the Distribution

Center, Ricardo Moreno, attested that the Distribution Center does not

conduct any of the listed services. APPX0116 (¶8). Rather, the

Distribution Center’s activities consist of visually inspecting and

transshipping electronics parts other than accused PCBAs. Id. (¶9)

Further, Moreno declared “Futaba does not make, use, sell, offer to sell,

or import into the U.S. the PCBAs in, at, through or out of the

Distribution Center.” Id. (¶7). Nartron deposed Moreno and inspected the

facility pursuant to Fed. R. Civ. P. 34 and identified no evidence to

controvert his declaration or to establish that FCA committed acts of

infringement in WDTX.



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     FCA’s webpage advertising likewise does not support any acts of

infringement in WDTX. FCA’s webpages have not offered the PCBAs for

sale as they have not identified the PCBAs at issue or offered any price

therefor. EMA Electromechanics, Inc. v. Siemens Corp., No. 6:21-cv-1001-

ADA, 2022 U.S. Dist. LEXIS 76297, *21 (W.D. Tex. Feb. 4, 2022) (finding

improper venue where “no indication that [ ] advertisements contemplate

a price term”); see, Grp. One, Ltd. v. Hallmark Cards, Inc., 254 F.3d 1041,

1048 (Fed. Cir. 2001) (“contract law traditionally recognizes that mere

advertising and promoting of a product may be nothing more than an

invitation for offers”). Further Nartron admits that JVIS, a third party

in Michigan, contracted with FCA to exclusively make and sell the

accused PCBAs for and to JVIS. APPX0021 (¶¶ 7, 9), APPX0025-0027 (¶¶

30, 33, 35, 41), APPX0030-0031 (¶55a), APPX0033-0034 (¶58).

     Nartron did not allege any other acts constituting infringement in

WDTX, only insufficient non-specific allegations of, e.g., “making, selling,

offering for sale, using, and/or importing in the United States,” induc[ing]

infringement…by selling the [PCBAs] to United States customers,” and

“contribut[ing] to infringement…by making, selling, and distributing the

[PCBAs] in the United States, where the [PCBAs] constitute a material



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part of the claimed invention….” See, e.g., APPX0029 (¶53), APPX0034

(¶63), APPX0036 (¶72).

     Even if Nartron had alleged any other act of infringement in

WDTX, after over two months of discovery on the subject, Nartron was

unable to produce any evidence FCA committed infringing acts in WDTX.

Moreover, evidence produced by FCA rebuts all Nartron’s conclusory

allegations on venue, thus Nartron is unable to satisfy its burden of

establishing proper venue.

     Moreover, Nartron’s indirect patent infringement claims under the

‘185 Patent and ‘762 Patent should be dismissed for failure to plausibly

allege or show FCA knew of the patents. See EMA at *12 (“[t]o state a

claim for indirect…infringement, the complaint must allege that the

accused infringer has knowledge of the patent”). Nartron alleges FCA has

“been aware of the Patents-in-Suit since at least 2017, when the existence

of the ‘185 Patent [and ‘762 Patent] was mentioned in testimony of the

Prior Litigation.” APPX0044 (¶98), APPX0052 (¶128). The “Prior

Litigation,” i.e., JVIS v. Nartron 13-2742-CK (County of Macomb,

Michigan) was pending from July 9, 2013, to Nov. 28, 2017. APPX0205-

0206 (¶7). FCA could not have been made aware of the ‘185 and ‘172



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Patents then because they issued Dec. 12, 2017, and March 5, 2019,

respectively. Id. Because Nartron has not alleged or shown FCA

committed acts of patent infringement in this District or even knew of

the ’185 and ‘172 Patents, the patent claims against FCA should be

dismissed. EMA at *22

     B.    Venue is not Proper for Nartron’s Copyright Claim in
           the Western District of Texas

     Venue for copyright infringement actions is controlled by 28 U.S.C.

§ 1400(a). It recites that a copyright infringement action “may be filed in

the district in which the defendant or his agent resides or may be

found.” 28 U.S.C. § 1400(a). The term “may be found” means where a

party is subject to personal jurisdiction. Time, Inc. v. Manning, 366 F.2d

690, 697-698 (5th Cir. 1966). Huffman v. Activision Publ., No. 4:17-CV-

00815, 2020 U.S. Dist. LEXIS 248904 *14-15 (E.D. Tex. Feb. 25, 2020).

“A corporation ‘may be found’ in a district where personal jurisdiction

over a [d]efendant could be maintained. However, there must be specific

contacts with that specific district, not merely a specific state.” Tayama

v. Riom Corp., No. 2:11-CV-167-J, 2012 U.S. Dist. LEXIS 21643 at *4-5

(N.D. Tex. Feb. 21, 2012).




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     Nartron failed to allege any basis that venue is proper for its

copyright claim. Instead, it alleged “[v]enue is proper…under 28 U.S.C.

§§ 1391 and 1400(b)…”. APPX0023 (¶18). These statutes are for general

and patent litigation venue. Even if it alleged a basis for venue, venue for

its copyright claim is improper because FCA is not subject to personal

jurisdiction in the WDTX as explained below. Therefore, Nartron’s

copyright claim should be dismissed for failure to allege or show proper

venue.

     C.    The Western District of Texas Lacks Personal
           Jurisdiction

     A court must dismiss an action when it lacks personal jurisdiction

over the defendant. Fed. R. Civ. P. 12(b)(2). In analyzing personal

jurisdiction, a court may consider “the complaint, any documents

attached to the complaint, and any documents attached to the motion

to dismiss that are central to the claim and referenced by the

complaint.” Lone Star Fund V (US) LP v. Barclays Bank PLC, 594

F.3d 383, 387 (5th Cir. 2010). For cases brought under the patent

laws, the court applies Federal Circuit law to determine personal

jurisdiction. Autogenomics, Inc. v. Oxford Gene Tech. Ltd., 566 F.3d

1012, 1016 (Fed. Cir. 2009).


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     A court engages in two inquiries in determining whether

jurisdiction exists over an out-of-state defendant: whether a forum

state's long-arm statute permits service of process and whether

assertion of personal jurisdiction violates due process. Breckenridge

Pharm., Inc. v. Metabolite Labs., Inc., 444 F.3d 1356, 1361 (Fed. Cir.

2006). Because the Texas long-arm statute has been interpreted to

extend to the limit of due process, the two inquiries are the same for

district courts in Texas. Religious Tech. Ctr. v. Liebreich, 339 F.3d

369, 373 (5th Cir. 2003). “The constitutional touchstone for

determining whether an exercise of personal jurisdiction comports

with due process ‘remains whether the defendant purposefully

established minimum contacts in the forum state.’”                      Nuance

Communs., Inc. v. Abbyy Software House, 626 F.3d 1222, 1230-1231

(Fed. Cir. 2010) (quoting Burger King Corp. v. Rudzewicz, 471 U.S.

462, 474 (1985). From this touchstone of “minimum contacts,” courts

have recognized two categories of personal jurisdiction, specific and

general.

     Specific jurisdiction may be asserted where a “corporation’s in-

state activity is ‘continuous and systematic’ and that activity gave rise



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to the episode-in-suit.” Goodyear Dunlop Tires Operations, S.A. v.

Brown, 564 U.S. 915, 923 (2011) (quoting Int’l Shoe Co. v Wash., 326

U.S. 310, 317 (1945). Even “the commission of certain ‘single or

occasional acts’ in a State may be sufficient to render a corporation

answerable in that State with respect to those acts, though not with

respect to matters unrelated to the forum connections.” Id. (quoting Int’l

Shoe at 318) (emphasis added). General jurisdiction is when a

corporation’s “continuous corporate operations within a state [are] so

substantial and of such a nature as to justify suit against it on causes

of action arising from dealings entirely distinct from those activities.”

Int’l Shoe at 318. FCA is subject to neither general nor specific

jurisdiction.

         1. FCA is not Subject to General Jurisdiction in the
            Western District of Texas

      General jurisdiction over out-of-state corporations may be found

“when their affiliations with the State are so ‘continuous and systematic’

as to render them essentially at home in the forum State.” Goodyear, at

919 (quoting Int’l Shoe, at 317). The “place of incorporation and principal

place of business are paradigm bases for general jurisdiction.” Daimler

AG v. Bauman, 571 U.S. 117, 137 (2014) (internal quotation and


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correction omitted). “Accordingly, the inquiry under Goodyear is not

whether a foreign corporation’s in-forum contacts are ‘continuous and

systematic,’ it is whether that corporation’s ‘affiliations with the State

are so ‘continuous and systematic’ as to render [it] essentially at home in

the forum State.’” Id. at 138-139 (quoting Goodyear, 564 U.S. at 919).

Those “affiliations with the State” are the place of incorporation and the

principal place of business. Daimler, at 137, 139.

     The general jurisdiction inquiry does not focus solely on the extent

of a corporation’s contacts within a state. “A corporation that operates in

many places can scarcely be deemed at home in all of them. Otherwise,

‘at home’ would be synonymous with ‘doing business’ tests framed before

specific jurisdiction evolved in the United States.” Daimler, at 140 n.20.

As the Fifth Circuit observed in the wake of Goodyear and Daimler: “[i]t

is, therefore, incredibly difficult to establish general jurisdiction in a

forum other than the place of incorporation or principal place of

business.” Monkton Ins. Servs. v. Ritter, 768 F.3d 429, 432 (5th Cir. 2014).

      Nartron alleged only that “Defendants’ contacts with the State

 of Texas are systematic and continuous so as to render Defendants

 essentially at home in Texas.” APPX0023 (¶19),. Nartron admits the



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 other Defendants, Does 1-10, “are unknown to Nartron at this time”

 (APPX0022 (¶14)) and therefore their activity cannot form the basis

 for making that allegation. Moreover, FCA does not have “systematic

 and continuous” contacts with Texas rendering it “at home” in Texas.

 FCA is an Alabama corporation (APPX0115 (¶4)), and its principal

 place of business is in Illinois (APPX0119 ). Thus, its “systematic and

 continuous contacts” or “home” would be with or in Alabama and/or

 Illinois, not Texas. See Daimler, at 138, 140 n.20. Merely doing

 business in Texas does not establish general jurisdiction in Texas. See

 Daimler, at 140 n.20. As such, Nartron has not satisfied its burden of

 establishing general personal jurisdiction over FCA.

        2. FCA is Not Subject to Specific Jurisdiction in the
           Western District of Texas

     In determining whether specific personal jurisdiction is present, a

court must consider “the interests of the forum State and of the plaintiff

in proceeding with the cause in the plaintiff’s forum of choice.” Kulko v.

Superior Court of Cal., City and County of San Francisco, 436 U.S. 84, 92

(1978). However, the “primary concern” for a court to consider is “the

burden on the defendant.” World-Wide Volkswagen Corp. v. Woodson, 444

U.S. 286, 292 (1980). When evaluating that burden, restrictions on


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personal jurisdiction “are more than a guarantee of immunity from

inconvenient or distant litigation. They are a consequence of territorial

limitations on the power of the respective States.” Hanson v. Denckla,

357 U.S. 235, 251 (1958). One State’s power to exercise its authority to

try cases in its courts is necessarily limited by that same power of other

States. World-Wide Volkswagen, 444 U.S. at 293. In fact, this interest

may deprive a court of jurisdiction when it otherwise seems proper.

“[E]ven if the forum State is the most convenient location for litigation,

the Due Process Clause, acting as an instrument of interstate federalism,

may sometimes act to divest the State of its power to render a valid

judgment.” World-Wide Volkswagen, at 294.

     Courts apply a three-prong test to determine whether specific

jurisdiction exists over a defendant: “(1) whether the defendant

purposefully directed activities at residents of the forum; (2) whether the

claim arises out of or relates to those activities; and (3) whether assertion

of personal jurisdiction is reasonable and fair.” Nuance Communs, at

1231. The focus of the specific jurisdiction inquiry is on “the relationship

between the defendant, the forum, and the litigation.” Freudensprung v.

Offshore Technical Servs., Inc., 379 F.3d 327, 343 (5th Cir. 2004) (quoting



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Burger King Corp. v. Rudzewicz, 471 U.S. 462, 474 (1985)). “[R]andom,”

“fortuitous,” or “attenuated” contacts do not satisfy the minimum

contacts requirement. Id. at 475 (quoting, Keeton v. Hustler Magazine,

Inc., 465 U.S. 770, 774 (1984). Further, the plaintiff has the burden to

show minimum contacts exist under the first two prongs. Elecs. for

Imaging Inc. v. Coyle, 340 F.3d 1344, 1350 (Fed. Cir. 2003).

     For a court to exercise specific jurisdiction over a claim, there must

be an “affiliation between the forum and the underlying controversy,

principally, activity or an occurrence that takes place in the forum State.”

Goodyear, 564 U.S. at 919 (internal quotes omitted). When there is no

such connection, specific jurisdiction is lacking regardless of the extent of

a defendant’s unconnected activities in the State. See id. at 930-931 n.6

(“even regularly occurring sales of a product in a State do not justify the

exercise of jurisdiction over a claim unrelated to those sales”). Ultimately,

“a defendant’s … continuous activity of some sorts within a state...is not

enough to support the demand that the corporation be amenable to suits

unrelated to that activity.” Bristol-Myers Squibb Co. v. Superior Court of

California, San Francisco Cnty., 582 U.S. 255, 264 (2017) (internal

quotes omitted).



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     To try to establish specific personal jurisdiction here, Nartron

alleged the following:

     Futaba [] has a place of business [in] El Paso, Texas. At that
     location, Futaba (a) regularly transact [sic] and conduct [sic]
     business within the State of Texas and (b) have [sic] otherwise
     made or established contacts with the state of Texas sufficient
     to permit the exercise of personal jurisdiction. In particular,
     Futaba conducts PCBA prototype design and engineering, test
     engineering, box assembly, and PCBA assembly from its El
     Paso facility.

APPX0023 (¶19) (emphasis added). The first sentence is true: FCA has

a Distribution Center in El Paso, Texas. The second is generic and

insufficient to establish jurisdiction in Texas. The third is inaccurate.

The El Paso facility is merely a “Distribution Center” that does not

conduct any of the listed services. APPX0115-0116 (¶¶ 2, 8). The

Distribution Center’s activities are limited to visually inspecting and

transshipping electronics parts other than accused PCBAs and “Futaba

does not make, use, sell, offer to sell, or import into the U.S. the PCBAs

in, at, through or out of the Distribution Center” APPX0016 (¶¶ 7-9),.

With FCA’s limited activities in Texas having no connection to this

underlying dispute, specific jurisdiction is not present.




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        3. FCA is Not Subject to Jurisdiction in the Western
           District of Texas Under a Stream of Commerce Theory

     In its opposition to FCA’s motion to dismiss for lack of personal

jurisdiction, Nartron argued that FCA is subject to specific personal

jurisdiction under a stream of commerce theory. However, Nartron pled

only a single paragraph to support its assertion that the district court

had personal jurisdiction over FCA, and that paragraph makes no

mention of a stream of commerce theory. APPX0023. Further, Nartron

has failed to allege any facts to support jurisdiction under that theory.

For that reason alone, this Court should reject the stream of commerce

theory as a basis for jurisdiction.

     Beyond that, the requirements for establishing jurisdiction under a

stream of commerce theory have long been unresolved. The Court in

Asahi Metal Industry Co. v. Superior Court of California, Solano County,

480 U.S. 102 (1987), was split on whether mere placement in the stream

of commerce is sufficient to establish jurisdiction, or whether intent that

the products reach the forum in question is required, with four justices

finding for each requirement. Later, a plurality of the Court in McIntyre

Machinery Ltd. v. Nicastro, 564 U.S. 873 (2011) held there was no

jurisdiction over the defendant under a stream of commerce theory


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because the defendant had not purposefully availed himself of the forum

state's laws. With no binding precedent, this Circuit has declined to take

a position on the requirements of a stream of commerce jurisdictional test

because the resolution of the cases before it did not require it. Celgard,

LLC v. SK Innovation Co. 792 F.3d 1373, 1382 (Fed. Cir. 2015).

     In Celgard, this Court examined a contract manufacturer’s role in

the stream of commerce and found jurisdiction lacking. Id. Plaintiff

argued the district court had personal jurisdiction over defendant under

the stream of commerce theory because: 1) “it sells separators [the

allegedly infringing product] to other companies, with established

distribution channels, that incorporate the infringing separators into CE

devices that are sold in North Carolina [the forum state];” 2) plaintiff’s

tests “show that separators have been found in batteries in CE devices

purchased in North Carolina that are consistent” with defendant’s

separators; and 3) defendant’s “biggest customers provide a portion of

batteries to Apple and Dell” which sell their products in North Carolina.

Id. at 1380-1381 (internal quote omitted). This Court found jurisdiction

lacking because the “record evidence shows only that [defendant] sells its

products to OEMs who then sell completed batteries to [consumer



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electronics] manufacturers that resell them in the United States.” Id.

     Additionally, various district courts have issued well-reasoned

opinions finding jurisdiction lacking under a stream of commerce theory

where component part manufacturers have their goods incorporated into

products sold nationally.

     [Plaintiff’s] theory rests on the idea [defendant], by selling a
     component part to a manufacturer like Hauppauge, which in
     turn sells finished products in major international retail
     stores, can fairly foresee being hailed into federal court in
     Texas. The logic of such a theory would subject [defendant] to
     personal jurisdiction in all 50 states by virtue of Hauppauge’s
     conduct. If the Due Process Clause is to be reduced to nothing,
     …it will not be by this Court.

Silicon Labs., Inc. v. Cresta Tech. Corp., No. A-14-CA-318-SS, 2014 U.S.

Dist. LEXIS 95711, *7-8 (W.D. Tex. July 14, 2014). That court cautioned

against the stream of commerce theory becoming a single “interconnected

ocean water” and found the assertion of jurisdiction would not be fair.

Silicon Labs. at *9.1

1
 See also, ASM Assembly Sys. Switz. GmbH v. QTS Eng'g, No. 15CV714
BEN (RBB), 2016 U.S. Dist. LEXIS 7720, *6 (S.D. Cal. 2016) (“California,
has no interest in adjudicating a dispute between two foreign
corporations that have no connection to California and a Massachusetts
corporation that has no connection to California”); Target Training Int’l,
Ltd. v. Extended Disc Int’l. Oy, Ltd., No. 4:11-cv-02531, 2015 U.S. Dist.
LEXIS 182823 *29 (S.D. Tex. March 4, 2015) (“Texas has little interest
in adjudicating the suit between TTI and EDI, since neither is a Texas
company, and there is no evidence that EDI's allegedly infringing

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      FCA sold the PCBAs at issue to JVIS in Michigan. APPX0116 (¶10).

JVIS incorporated those PCBAs into instrument bezels and sold them to

a customer which assembled them into vehicles that it sold to dealers.

APPX0200. Third-party acts two steps down the supply chain do not

create jurisdiction over FCA when it has not directed any act related to

the claimed infringement to Texas and when FCA’s scarce activity in

Texas has nothing to do with this matter.

II.   At a Minimum, Mandamus Is Proper Because the District
      Court Has Failed To Timely Address the Transfer Motion

      At a minimum, mandamus is warranted to compel the district court

to address FCA’s motions to dismiss. The Court has emphasized that a

district court should prioritize and resolve threshold motions before it

addresses other substantive issues in a case. In re Apple Inc., 979 F.3d

1332, 1337 (Fed. Cir. 2020) (“once a party files a transfer motion,

disposing of that motion should unquestionably take top priority.”)

(applying Fifth Circuit law); In re Nintendo Co., 544 F. App’x at 941 (“a

trial court must first address whether it is a proper and convenient venue

before addressing any substantive portion of the case”) (applying Fifth



activities occurred in Texas…[and] there is no showing that Texas has
any particular interest in this lawsuit.”)

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Circuit law).

     Without issuance of a writ, prejudice can occur as “a lengthy delay

in ruling on a request for relief can amount to a denial of the right to have

that request meaningfully considered.” In re Google, Inc., 2015 U.S. App.

LEXIS 16544, at *2. The Court has explained “that lengthy delays in

resolving transfer motions can frustrate the intent of 28 U.S.C. § 1404(a)

by forcing defendants ‘to expend resources litigating substantive matters

in an inconvenient venue while a motion to transfer lingers unnecessarily

on the docket.’” In re TracFone Wireless, Inc. 848 Fed. Appx. 899, 900

(Fed. Cir. 2021) (quoting In re Google, Inc. at *2). Further, undue delay

in addressing threshold motions, “may unnecessarily require the

expenditure of judicial resources in both the transferor and transferee

courts.” In re Apple Inc., 52 F.4th 1360, 1362 (Fed. Cir. 2022).

     As such, in Google, the Court granted mandamus where a district

court had let a transfer motion linger for eight months and where Google

“made a compelling case” that the trial court “arbitrarily refused to

consider the merits of its transfer motion.” In re Google at *2. Similarly,

the TracFone Court concluded “that a trial court’s failure to act on a fully

briefed transfer motion that had been pending for approximately eight



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months while pressing forward with discovery and claim construction

issues amounted to an arbitrary refusal to consider the merits of the

transfer motion.” In re TracFone at 900. Likewise, the Court found “the

lengthy delay and upcoming Markman hearing” necessitated granting

mandamus such that “the district court must stay all proceedings

concerning the substantive issues of the case and all discovery until such

time that it has issued a ruling on the motion capable of providing

meaningful appellate review of the reasons for its decision.” In re SK

Hynix, Inc., 835 Fed. Appx. 600, 601 (Fed. Cir. 2021).

     The Court’s precedent is clear and compels granting mandamus.

FCA filed its motions to dismiss on September 14, 2023. With the motions

fully briefed and no indication of a hearing or decision date, on March 13,

2024, FCA filed its motion to stay proceedings until the motions to

dismiss were decided or, at a minimum, to stay discovery until one day

after the April 11, 2024, Markman hearing. FCA argued the adjournment

of the start of fact discovery would be consistent with the court’s

Exemplary Schedule in its Standing Order Governing Proceedings, OGP

4.4 which starts fact discovery after the Markman hearing. APPX0216.

Moreover, any prejudice to Nartron was negligible in light of its ten-year



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delay in filing the underlying action and the fact the parties were no

longer competitors. Id. Since then, the district court has, sua sponte,

postponed the Markman hearing twice, first to May 22, 2024, and second

to July 15, 2024. Meanwhile, Nartron served voluminous discovery on

March 29, 2024. Seeking relief from the obligation to respond to the

discovery, FCA filed a motion for protective order on April 18, 2024.

APPX0234. The district court denied both FCA’s motion to stay

proceedings (APPX0240) and motion for protective order (APPX0242) on

May 13, 2024, while also ordering FCA to respond to the pending

discovery within 30 days. In doing so, the district court explained that

its, “schedule remains very busy.” APPX0244.

     FCA’s motions to dismiss have been pending for over eight months

during which time FCA has been burdened with numerous discovery

issues and requests, and has been marched through claim construction.

With cursory orders, the district court granted Nartron’s request to

compel additional discovery on the motions to dismiss, denied FCA’s

request to compel claim construction discovery, granted Nartron’s

request to compel merits-based fact discovery, and now denied FCA’s

motions for relief from the expedited pace of the district court’s



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scheduling order. The scheduling order even forced the Parties to serve

their respective Final Infringement and Invalidity Contentions despite

not having a claim construction ruling. APPX0195. The district court’s

extreme delay and its “continued refusal” to heed the instruction to

resolve threshold motions to dismiss before proceeding to other

substantive aspects of the case warrant the sort of “supervisory”

intervention that justifies the writ of mandamus. See In re Nintendo Co.,

544 F. App’x at 936; In re TracFone at 900. Thus, mandamus is

warranted, and the Court should, at a minimum, order the district court

to stay discovery and all proceedings concerning the substantive issues

of the case until it has ruled on FCA’s motions to dismiss. In re SK Hynix

at 601.

                              CONCLUSION

        For the foregoing reasons, the Court should issue a writ of

mandamus requiring the district court to grant FCA’s motion to dismiss.

Alternatively, the Court should issue a writ of mandamus staying this

case and requiring the district court to rule on FCA’s motions within 30

days.




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      This brief complies with the type-volume limitations of Federal

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FORM 8A. Entry of Appearance                                                  Form 8A (p.1)
                                                                                 July 2020


                   UNITED STATES COURT OF APPEALS
                      FOR THE FEDERAL CIRCUIT

                               ENTRY OF APPEARANCE

          Case Number:
  Short Case Caption: Futaba Corporation of America v. UUSI, LLC d/b/a Nartron

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                               Futaba Corporation of America

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 I certify under penalty of perjury that (1) the submitted information is true and
 accurate and (2) I am authorized to enter an appearance by all other listed counsel.
       5/30/24
 Date: _________________                  Signature:   /s/ George S. Fish

                                          Name:        George S. Fish
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FORM 30. Certificate of Service                                                             Form 30
                                                                                           July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

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           Case Number
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        05/30/2024
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                                              Name:           George S. Fish
